Case 1:23-cv-01599-ABJ Document 17-4 Filed 06/06/23 Page 1 of 5




        EXHIBIT A-36
HO-14376_ARCHIVE-000041896
                   Case 1:23-cv-01599-ABJ Document 17-4 Filed 06/06/23 Page 2 of 5
HO-14376_ARCHIVE-000041896
                   Case 1:23-cv-01599-ABJ Document 17-4 Filed 06/06/23 Page 3 of 5
HO-14376_ARCHIVE-000041896
                   Case 1:23-cv-01599-ABJ Document 17-4 Filed 06/06/23 Page 4 of 5
HO-14376_ARCHIVE-000041896
                   Case 1:23-cv-01599-ABJ Document 17-4 Filed 06/06/23 Page 5 of 5
